                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  ERIE INSURANCE COMPANY, as subrogee       *
  of Anthony Liakonis and Lori Liakonis,    *
                                            *
        Plaintiff,                          *
                                            *                 No. 3-20-cv-00319-DCLC-DCP
                                            *
  v.                                        *
                                            *
  ELECTROLUX HOME PRODUCTS, INC.,           *
  ELECTROLUX NORTH AMERICA, INC.,           *
  GD MIDEA AIR CONDITIONING EQUIPMENT, *
  LTD., MIDEA GROUP CO., LTD., MIDEA        *
  AMERICA CORPORATION, and MIDEA            *
  INTERNATIONAL TRADING CO., LTD.,          *
  __________________________________________*

    STIPULATION FOR DISMISSAL WITH PREJUDICE OF ALL CLAIMS AGAINST
                      ALL REMAINING DEFENDANTS

          Plaintiff, Erie Insurance Company, and the remaining Defendants, Electrolux Home

  Products, Inc., Electrolux North America, Inc., and Midea America Corp., by and through their

  counsel, pursuant to Rule 41(1)(A) of the Federal Rules of Civil Procedure, hereby stipulate to

  the dismissal with prejudice of all claims asserted against the remaining Defendants, each party

  to bear its own costs and fees.


          Respectfully stipulated to and submitted this 23rd day of March 2021 by:

   /s/ John W. Reis                                 /s/ W. Kyle Carpenter
   John W. Reis, Esquire (BPR# 024818)              W. Kyle Carpenter, Esquire (BPR# 005332)
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   Fax: 704-384-2800                                Products, Inc., Electrolux North America, Inc.
   Email: jreis@foxrothschild.com                   and Midea America Corp.
   Attorney for Plaintiff



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                                    CERTIFICATE OF SERVICE

  I hereby certify that on March 23, 2021, a copy of the foregoing STIPULATION FOR
  DISMISSAL WITH PREJUDICE OF ALL CLAIMS AGAINST ALL REMAINING
  DEFENDANTS was filed electronically. Notice of this filing will be sent by operation of the
  Court’s electronic filing system to all parties indicated on the electronic filing receipt. All other
  parties will be served by regular U.S. mail. Parties may access this filing through the Court’s
  electronic filing system.

  W. Kyle Carpenter, Esquire (BPR# 005332)
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  Midea America Corp.

          Respectfully submitted this 23rd day of March 2021 by:

                                                 /s/ John W. Reis
                                                 John W. Reis
                                                 Tennessee Bar No. 024818




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